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                              No. 24-12311

            United States Court of Appeals
               for the Eleventh Circuit
                        UNITED STATES OF AMERICA,
                                          Plaintiff-Appellant,
                                     v.
                         DONALD J. TRUMP, et al.,
                                          Defendants-Appellees.

           On Appeal from the United States District Court
                 for the Southern District of Florida
            No. 9:23-cr-80101-AMC; Hon. Aileen Cannon

BRIEF OF FORMER ATTORNEYS GENERAL EDWIN MEESE III
    AND MICHAEL B. MUKASEY, PROFESSORS STEVEN
 CALABRESI AND GARY LAWSON, CITIZENS UNITED, AND
    CITIZENS UNITED FOUNDATION AS AMICI CURIAE
              SUPPORTING AFFIRMANCE

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         CERTIFICATE OF INTERESTED PERSONS AND
           CORPORATE DISCLOSURE STATEMENT

       Under Federal Rule of Appellate Procedure 26.1 and Eleventh

Circuit Rules 26.1-1 through 26.1-3, and in addition to those persons and

entities identified by the Appellants, Appellees, and other Amici, Amici

here identify all additional attorneys, persons, associations of persons,

firms, partnerships, or corporations associated with this brief that have

an interest in the outcome of this case:

  1.     Boos, Michael, Counsel

  2.     Calabresi, Steven, Amicus Curiae

  3.     Citizens United, Amicus Curiae

  4.     Citizens United Foundation, Amicus Curiae

  5.     Jorjani, Daniel H., Counsel

  6.     Klukowski, Kenneth A., Counsel

  7.     Lawson, Gary, Amicus Curiae

  8.     Meese, Edwin, III, Former Attorney General, Amicus Curiae

  9.     Miller, Justin A., Counsel

  10.    Mukasey, Michael B., Former Attorney General, Amicus Curiae

  11.    Schaerr, Gene C., Counsel

  12.    Schaerr | Jaffe LLP, Counsel
                              Page C1 of C2
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     Citizens United is a nonprofit corporation headquartered in

Washington, D.C., and recognized as a social welfare organization under

Section 501(c)(4) of the Internal Revenue Code. Citizens United

Foundation is a nonprofit corporation headquartered in Washington,

D.C., and recognized as an educational organization under Section

501(c)(3) of the Internal Revenue Code.

     None of these amici has a parent corporation or issued stock,

therefore no publicly held company owns 10 percent of their stock.




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      INTRODUCTION AND INTEREST OF AMICI CURIAE1

     Jack Smith does not have authority to prosecute this case because

his appointment lacks any legitimate statutory basis and thus violates

the Appointments Clause. And, regardless of the conduct at issue in this

prosecution, that lack of authority presents a serious problem for the rule

of law.

     Given their interest in and demonstrated commitment to the rule

of law, moreover, that problem is of immense importance to amici.

Amicus Edwin Meese III served as the seventy-fifth Attorney General of

the United States after serving as Counselor to the President, and is now

the Heritage Foundation’s Ronald Reagan Distinguished Fellow

Emeritus. During his tenure as Attorney General, the Department of

Justice steadfastly defended proper limits on federal power. Amicus

Michael B. Mukasey was the eighty-first Attorney General of the United

States after serving as a judge on the United States District Court for the

Southern District of New York. Professors Calabresi and Lawson are




1 No party opposes filing this brief, but because amici did not receive

affirmative consent, amici moved for leave of court to file. No counsel for
any party authored any part of this brief, nor did any person other than
amici curiae contribute money toward its preparation or submission.
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scholars of the original public meaning of the Constitution. Citizens

United (a 501(c)(4) social welfare organization) and Citizens United

Foundation (a 501(c)(3) educational and legal organization) are dedicated

to restoring government to the people by promoting federalism, free

enterprise, individual liberty, and limited government.

                                  ISSUE

     Whether the Attorney General had statutory authority to appoint

the Special Counsel such that the appointment was consistent with the

Appointments Clause of the Constitution, art. II, § 2, cl. 2.

                     SUMMARY OF ARGUMENT

     Regardless of what one thinks about other issues in this

prosecution, Jack Smith has no authority to prosecute. Only persons

properly appointed as officers to properly created federal offices can lead

prosecutions. As the district court held, neither Smith nor his Special

Counsel position meets those criteria.

     Attorney General Garland purported to appoint Smith to serve as

Special Counsel for the Department of Justice (“DOJ”), citing authority

under 28 U.S.C. §§ 509, 510, 515, and 533. But none of those statutes,

nor any other law, remotely authorizes the Attorney General’s appointing


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a   government employee to receive extraordinary criminal law

enforcement power under the title “Special Counsel.”

     I.    The Appointments Clause requires that all federal offices “not

herein otherwise provided for” in the Constitution must be “established

by Law,” and no statute establishes the Office of Special Counsel in DOJ.

The statutory provisions DOJ has relied on to appoint Special Counsels

over the past half century do not authorize prosecutors with the powers

of U.S. Attorneys.

     This is confirmed by comparing the statutes concerning the

Attorney General’s appointment authority to the authority granted to

some other Department Heads whom Congress has explicitly empowered

to appoint inferior officers. For example, the Agriculture Secretary “may

appoint such officers and employees … as are necessary.” Similarly, the

Education Secretary “is authorized to appoint ... such officers and

employees as may be necessary.” Likewise, the Homeland Security

Secretary “is authorized to appoint … officers and employees” generally.

And the    Transportation     Secretary     “may    appoint … officers and

employees.” But no statute grants the Attorney General such general

officer-appointing power.


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     Indeed, the government’s cavalier construction of the Attorney

General’s authority would allow him to create an entire shadow

Department of Justice. The obvious answer to such a dystopian and

frightening version of the Nation’s top domestic law enforcement agency

is that Congress created a much different structure, one that answers to

the American people through their elected lawmakers and President.

     Common tools of statutory interpretation confirm that Smith’s

appointment is illegal. For example, the canon of constitutional doubt

requires Congress to speak clearly if it intends a statute to push the limit

of constitutionality. Yet the statutes Smith claims for his authority

contain no clear statement, and thus fail under this rule.

     Nor is this Court bound by comments in United States v. Nixon, 418

U.S. 683 (1974), about the statutory authority the Attorney General had

invoked for the Special Counsel appointment in that case. Those

observations do not even constitute dictum (much less a holding) because

they did not purport to address either the statutory or the constitutional

question presented here, that is, (1) whether a statute actually

authorizes the Attorney General to appoint a Special Counsel and (2) if

so, whether that authorization is constitutional. Indeed, both parties


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stipulated to the validity of Nixon’s special prosecutor. Besides noting as

a factual matter which statutes had been invoked there, the portion of

the Nixon opinion cited by Smith simply addressed the institutional

relationship between a President and the Department of Justice—not the

proper interpretation of any of the statutes on which Smith relies.

     II.   In any event, the Special Counsel, if a valid officer, is a

principal (or non-inferior) rather than inferior officer, and thus requires

senatorial confirmation regardless of what any statutes say. This is true

under both original meaning and case law—once one understands that

neither Morrison v. Olson, 487 U.S. 654 (1988), nor Edmond v. United

States, 520 U.S. 651 (1997), can really be read to say that any person who

is in any fashion subordinate to an executive official other than the

President is an “inferior” officer. Such a reading leads to the ludicrous

result that there is only one noninferior officer in every executive

department. Moreover, the constitutional problem is easily solved simply

by appointing a sitting U.S. Attorney to serve as Special Counsel

whenever needed.




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                             ARGUMENT

I.   SMITH AS SPECIAL COUNSEL IS NOT “ESTABLISHED BY LAW”
     BECAUSE CONGRESS PASSED NO STATUTE AUTHORIZING HIS
     POSITION.

     The Constitution itself creates no executive positions other than the

presidency and vice presidency. Instead, it commits the power to create

federal offices to Congress under the Necessary and Proper Clause. That

Clause in turn gives Congress power “[t]o make all Laws which shall be

necessary and proper for carrying into Execution the foregoing Powers,

and all other Powers vested by this Constitution in the Government of

the United States, or in any Department or Officer thereof.” U.S. Const.

art. I, § 8, cl. 18. But no law currently in effect authorizes the position of

Special Counsel.

     A.    Only Congress can create a federal office.

     A law creating offices to carry out executive functions is

quintessentially “necessary and proper for carrying into Execution”

federal powers. Moreover, “Congress has the exclusive constitutional

power to create federal offices.” Steven G. Calabresi & Gary Lawson, Why

Robert Mueller’s Appointment as Special Counsel Was Unlawful, 95

Notre Dame L. Rev. 87, 101 & n.74 (2019) (“Calabresi & Lawson,

Mueller”) (discussing 2 The Records of the Federal Convention of 1787, at
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550 (Max Farrand ed., 1911)); see also Seila Law LLC v. CFPB, 591 U.S.

197, 266 (2020) (Kagan, J., concurring in judgment with respect to

severability and dissenting in part). English monarchs could create

offices, but the Framers consciously denied that power to the President.

See Steven G. Calabresi & Gary Lawson, The U.S. Constitution: Creation,

Reconstruction, the Progressives, and the Modern Era 382 (2020).

Accordingly, the Constitution does not give the President or agency heads

the power to create offices. Instead, it requires that Congress first create

all federal offices.

      The Appointments Clause confirms this, providing for appointing

officers “established by Law.” U.S. Const. art. II, § 2, cl. 2. Adding that

phrase was deliberate. “On September 15, 1787, ‘[a]fter “Officers of the

U.S. whose appointments are not otherwise provided for,” were added the

words “and which shall be established by law.”’” Calabresi & Lawson,

Mueller , supra, at 101 & n.77 (quoting 2 The Records of the Federal

Convention of 1787, at 628). This addition’s plain import is that the “law”

that establishes the office must be a statute. A regulation or Executive

Order is not the kind of “law” that can create an office under the




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Appointments Clause. See Seila Law, 591 U.S. at 266 (Kagan, J.) (citing

1 Annals of Cong. 582 (1789) (Madison)).

     Indeed, the Constitution consistently uses “law” and “laws,” when

otherwise unqualified, to mean statutes. See Gary Lawson & Christopher

D. Moore, The Executive Power of Constitutional Interpretation, 81 Iowa

L. Rev. 1267, 1315 (1996). If no statute establishes an office, no one can

be appointed to it.

     B.    No statute created an Office of Special Counsel.

     And here, no statute authorizes the position of Special Counsel or

authorizes the Attorney General to fill that office. Under current

statutes, DOJ’s structure includes an Attorney General, Deputy Attorney

General, Associate Attorney General, Solicitor General, eleven Assistant

Attorneys General, one U.S. Attorney for each judicial district, a director

of the Federal Bureau of Investigation, a director of the U.S. Marshals

Service, one U.S. Marshal for each judicial district, a director of the

Bureau of Alcohol, Tobacco, Firearms, and Explosives, a director of the

Bureau of Prisons, twenty-one U.S. Trustees, and as many assistant

United States Attorneys and “special attorneys” as the Attorney General

deems necessary. See 28 U.S.C. § 501 et seq.


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     This does not include over 100,000 people who work at DOJ. The

vast majority of federal workers, including those at DOJ, are not “officers

of the United States.” They are instead employees, whose appointments

are not controlled by the Appointments Clause. For them, Congress

instead provides that “[e]ach Executive agency, military department, and

the government of the District of Columbia may employ such number of

employees of the various classes recognized by chapter 51 of this title as

Congress may appropriate for from year to year.” 5 U.S.C. § 3101. But

officer positions must be specifically “established by Law.” And

employees cannot exercise the power of officers. See Lucia v. SEC, 585

U.S. 237, 245–46 (2018).

     To be sure, the Ethics in Government Act of 1978, Pub. L. No. 95-

521, 92 Stat. 1984 (“EGA”), added to the mix an “independent counsel”

(originally “special prosecutor”) appointed by a special three-judge court

upon referral by the Attorney General. But the statutory provisions for

the independent counsel expired in 1999 when Congress did not

reauthorize them.

     Shortly before that expiration, Attorney General Janet Reno

promulgated regulations—still purportedly in force today—providing for


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an “Office of Special Counsel.” See Office of Special Counsel, 64 Fed. Reg.

37,038 (July 9, 1999) (codified at 28 C.F.R. §§ 600.1–600.10) (“Reno

Regulations”). Under these regulations, the Attorney General may, in

some circumstances, “appoint an outside Special Counsel to assume

responsibility for the matter.” 28 C.F.R. § 600.1. The regulations clarify

that “outside” means someone “from outside the United States

Government.” Id. § 600.3(a). The Reno Regulations, like the independent

counsel statute, contemplate appointment, as a putative inferior officer,

of a nongovernmental official to an office that is fully the equivalent of a

U.S. Attorney. But regulations are not the kind of “law” that can

“establish[]” a federal office. Under the Appointments Clause, only a

statute can do that, and no statute creates a Special Counsel with the

jurisdiction and authority Smith wields.

     The Reno Regulations cite as authority 5 U.S.C. § 301 and 28 U.S.C.

§§ 509, 510, 515–519. Attorney General Garland’s order appointing

Smith also cited 28 U.S.C. § 533. Order No. 5559-2022 at 1. These

statutes, singly or collectively, provide no such authority.




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     1. Section 301.

     First, 5 U.S.C. § 301 is a general authorization for the issuance of

regulations by department heads: “The head of an Executive department

or military department may prescribe regulations for the government of

his department, the conduct of its employees, the distribution and

performance of its business, and the custody, use, and preservation of its

records, papers, and property.” This is merely a general housekeeping

provision. Nothing in it creates offices or authorizes the creation of

offices. Indeed, if § 301 were taken as general authorization for

appointment of officers, the entirety of the more numerous specific

provisions for appointment of officers throughout the U.S. Code would be

superfluous. That is an absurd construction of § 301.

     2. Sections 509 and 510.

     The next statute cited in the Reno Regulations, 28 U.S.C. § 509,

merely says that “[a]ll functions of other officers of the Department of

Justice and all functions of agencies and employees of the Department of

Justice are vested in the Attorney General” except for some functions not

relevant here. But this provision likewise does not authorize creating

offices. It simply says that the Attorney General can control all his


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subordinates in DOJ or personally assume and exercise their

responsibilities.

     Similarly, 28 U.S.C. § 510 merely says, “The Attorney General may

from time to time make such provisions as he considers appropriate

authorizing the performance by any other officer, employee, or agency of

the Department of Justice of any function of the Attorney General.” As

with § 509, the statute provides for shifting authority among the persons

who work at DOJ, but it says nothing about who those persons are, what

their positions are, or how they got there. Indeed, as noted below, under

Smith’s argument (SCO Br. 33–41), Section 510 would empower the

Attorney General to create an entire shadow DOJ that circumvents all

constitutional requirements for presidential and senatorial action.

     3. Section 515.

     The next cited provision, 28 U.S.C. § 515, likewise doesn’t authorize

the creation or filling of Smith’s Special Counsel position. Section 515(a)

confers only the following power:

  [A]ny other officer of the Department of Justice, or any attorney
  specially appointed by the Attorney General under law, may, when
  specifically directed by the Attorney General, conduct any kind of
  legal proceeding, civil or criminal, including grand jury proceedings
  and proceedings before committing magistrate judges, which
  United States attorneys are authorized by law to conduct, whether
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   or not he is a resident of the district in which the proceeding is
   brought.

Section 515(a) does not create offices or authorize their creation. Instead,

it concerns the powers of people who have already been properly

appointed to offices “under law” pursuant to other statutory provisions,

and to prosecute a case regardless of whether he is a resident of that

district.

      Section 515(a) is thus a geographical and jurisdictional allocative

provision. For example, it allowed Patrick Fitzgerald, the Senate-

confirmed U.S. Attorney for the Northern District of Illinois, to prosecute

Scooter Libby in Washington, D.C. It permits geographical flexibility.

      Nor does subsection (b) of § 515 provide the requisite authority to

appoint Smith to his current position:

   Each Attorney specially retained under authority of the
   Department of Justice shall be commissioned as special assistant
   to the Attorney General or special attorney, and shall take the oath
   required by law.

Again, this subsection is not a grant of a new power to retain or hire, but

instead provides that attorneys who have already been hired or

retained—and who may be only employees—can also have a title and

salary.


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      To be sure, Sections 515(a) and (b) assume there are going to be

attorneys “specially appointed by the Attorney General under law” and

“specially retained under the authority of the Department of Justice.”

And as discussed below, 28 U.S.C. § 543 explicitly authorizes the

Attorney General to hire such persons, who can then be denominated and

commissioned as “special assistant[s]” or “special attorney[s]” under

§ 515(b). But these provisions confer no authority to create new inferior

offices.

      4. Sections 516–519.

      Sections 516–519 likewise concern the internal allocation of

authority among existing DOJ personnel and provide no authority to

create offices. Section 519, for example, provides:

   Except as otherwise authorized by law, the Attorney General shall
   supervise all litigation to which the United States, an agency, or
   officer thereof is a party, and shall direct all United States
   attorneys, assistant United States attorneys, and special attorneys
   appointed under section 543 of this title in the discharge of their
   respective duties.

That is not office-creating language.




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       5. Section 533.

       Nor does Section 533 provide the requisite authority, either as an

original matter, or by virtue of the Supreme Court’s opinion in United

States v. Nixon, discussed in Part III.

       Section 533, relied upon by Attorney General Garland but not in

the Reno Regulations, is part of a chapter dealing with the FBI and is

entitled “Investigative and other officials; appointment.” It says:

  The Attorney General may appoint officials—(1) to detect and
  prosecute crimes against the United States; (2) to assist in the
  protection of the person of the President; and (3) to assist in the
  protection of the person of the Attorney General[;] (4) to conduct
  such other investigations regarding official matters under the
  control of the Department of Justice and the Department of State
  as may be directed by the Attorney General.

But Section 533(1) is not a general authorization to the Attorney General

to appoint officers. It specifically and solely authorizes the appointment

of “Investigative and other officials”—officials, not officers—connected

with the FBI. Such officials, as that term is used in the statute, 2 are not



2 An   eighteenth-century statute might have used a term such as
“officials” to have a broader meaning than applies to 28 U.S.C. § 533. See
Lucia, 585 U.S. at 252–54 (Thomas, J., concurring). As a matter of
statutory interpretation, however, there is no plausible case for reading
the term as it appears in Section 533 to be coextensive with the
constitutional meaning of “officer.”
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Article II “officers of the United States” and cannot perform the functions

of officers of the United States. They are nonofficer employees, who, as

FBI agents, must be subject to the supervision and direction of officers of

the United States. The FBI needs office and field personnel to perform its

functions, and Section 533 allows the agency to have them. But those

office and field personnel are not officers of the United States and do not

have the portfolio and powers of a Special Counsel.

      To the contrary, the word “Officer” is a constitutional term of art,

not only because it is used that way in the Appointments Clause, but also

because Article II, Section 4 allows for the impeachment and removal

from office of “all civil Officers of the United States[.]” U.S. Const. art. II,

§ 4. Congress can impeach the Deputy Attorney General or FBI Director,

but no one thinks Congress can impeach DOJ trial attorneys or FBI field

personnel. What is more, officers can be put by Congress in the line of

succession to the presidency. See U.S. Const. art. II, § 1, cl. 6. But no one

thinks DOJ trial attorneys can be put in that line of succession. That

simply is not how Congress was using the term “officials” in Section 533.

      The rest of the statutory context confirms that Section 533 does not

include Special Counsels. It is part of Chapter 33 of Title 28,


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encompassing Sections 531–540D, governing the “Federal Bureau of

Investigation.” Section 532 is entitled “Director of the Federal Bureau of

Investigation,” and specifies the Attorney General’s authority over the

FBI. Section 534 concerns preserving evidence in criminal cases. Section

533 thus clearly deals with FBI officials and agents, not Special Counsel-

type prosecutors. The government long understood Section 533 this

way—as simply the basis for the FBI’s law enforcement authority.

      Finally on this point—and tellingly—a cavalier reading of Section

533 to authorize hiring beyond its obvious scope obliterates the careful

structure of Title 28. That Title is divided into chapters dealing with the

Attorney General; FBI; U.S. Attorneys; U.S. Marshals Service; U.S.

Trustees; Bureau of Alcohol, Tobacco, Firearms and Explosives; and the

now-sunsetted independent counsel. Wide-ranging Special Counsels of

Smith’s sort are not part of these provisions outside of the now-defunct

EGA sections.

     At a more granular level, the result of loosely reading these statutes

is even more absurd. Congress, as noted earlier, has explicitly provided

for the appointment of all DOJ officers, from the Deputy Attorney

General to U.S. Attorneys. Reading Section 533 to grant the Attorney


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General sweeping inferior-officer appointment power wreaks havoc on

this structure. It would empower the Attorney General to appoint an

entire shadow DOJ to replace the functions of every statutorily specified

officer. No wonder the Reno Regulations did not invoke it.

     6. Section 543.

     By contrast, Section 543 contains explicit authority for the Attorney

General to appoint “special attorneys.” Yet neither the Reno Regulations

nor the Garland memo makes any mention of this provision, because

Section 543 does not authorize the kind of Special Counsel contemplated

by the Reno Regulations. Indeed, the government for decades has refused

to rely on this provision for the obvious reason that it contains internal

limitations that the government seeks to avoid. This is clear from the text

of § 543(a), which provides:

  The Attorney General may appoint attorneys to assist United
  States attorneys when the public interest so requires, including the
  appointment of qualified tribal prosecutors and other qualified
  attorneys to assist in prosecuting Federal offenses committed in
  Indian country.

Far from authorizing the appointment of a Special Counsel as a kind of

alternative U.S. Attorney, then, this provision obviously and explicitly




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authorizes the appointment of attorneys who merely assist U.S.

Attorneys.

     There are many contexts in which appointing such persons makes

sense. The government often encounters problems for which private

lawyers have expertise, either gained from past government service or

private experience. Those lawyers may not want a permanent

government position but are willing to help the government on a limited

basis, perhaps as part of a team dealing with specific complex litigation

requiring expert knowledge. An appointment as “special assistant” or

“special counsel,” under the control and direction of a U.S. Attorney, is

an obvious win-win in such instances.

     The government’s problem regarding the Reno Regulations and

Smith appointment is that those actions do not contemplate “special

counsels” who assist U.S. Attorneys. Instead, they contemplate Special

Counsels who replace U.S. Attorneys. Smith was hired as a powerful

standalone officer who replaces rather than assists the functions of U.S.

Attorneys within the scope of his jurisdiction. This is precisely the role

that the prior Ethics in Government Act authorized for Independent

Counsels. But that statute no longer exists, and in the absence of that


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statute or a similar one, there is simply no statutory Office of Special

Counsel to which Smith could be appointed to function as a stand-in for

a U.S. Attorney.

     7. Applicable Canons.

     Even if it were possible to read the relevant statutes as creating an

Office of Special Counsel, common tools of statutory interpretation do not

countenance such an interpretation.

     For example, the canon of constitutional doubt requires Congress

to clearly state when they are conferring on a government official

enormous power raising constitutional questions, and the statutes listed

above lack any such clear statement. Pursuant to that canon, this Court

“avoid[s] statutory interpretations that raise constitutional problems.”

Burban v. City of Neptune Beach, 920 F.3d 1274, 1282 (11th Cir. 2019).

And the Supreme Court has made clear that, “where an otherwise

acceptable construction of a statute would raise serious constitutional

problems, the Court will construe the statute to avoid such problems

unless such construction is plainly contrary to the intent of Congress.”

Edward J. DeBartolo Corp. v. Fla. Gulf Coast Bldg. & Constr. Trades

Council, 485 U.S. 568, 575 (1988). Put succinctly, “when one


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interpretation of the law raises serious constitutional problems, courts

will construe the law to avoid those problems so long as the reading is

not plainly contrary to legislative intent.” Pine v. City of W. Palm Beach,

Inc., 762 F.3d 1262, 1270 (11th Cir. 2014).

      As explained below, any interpretation of these statutes allowing

the Attorney General to appoint a prosecutor with the kind of power

exercised by Smith raises (at a minimum) serious questions under the

Appointments Clause. Accordingly, this Court does not need to go beyond

constitutional avoidance to affirm the district court’s decision.3

      In short, the position supposedly held by Smith was not

“established by Law.” The authority exercised by him as a so-called

“Special Counsel” far exceeds the power exercisable by a mere employee.

See Lucia, 585 U.S. at 245–47. He is acting as an officer, but aside from

the specific offices listed in the statutes discussed above, there is no office




3 Smith’s appointment also fails under the clear-statement requirement

of the major questions doctrine, as President Trump explained. Br. 11–
12; see also, e.g., Ala. Ass’n of Realtors v. Dep’t of Health & Hum. Servs.,
594 U.S. 758, 764 (2021); FDA v. Brown & Williamson Tobacco Corp., 529
U.S. 120, 159–61 (2000). Conferring upon a prosecutor never confirmed
by the Senate the power to (potentially) alter the Nation’s political
history is certainly a major political question.
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for him to hold. That alone deprives him of authority to represent the

United States in any capacity, including before this Court.

II.   EVEN IF HIS POSITION WERE AUTHORIZED BY STATUTE, SMITH
      WOULD     BE   A   PRINCIPAL    OFFICER     REQUIRING        PRESIDENTIAL
      NOMINATION AND SENATE CONFIRMATION.

      Even if one somehow thinks that existing statutes authorize

appointment of standalone Special Counsels with the full powers of a

U.S. Attorney, Smith was not properly appointed to such an “office” in

any event, because no appointment to an office with such vast powers

could be valid under the Appointments Clause.

      A.    The Appointments Clause’s default is that officers
            require   presidential nomination   and    Senate
            confirmation.

      The Appointments Clause provides that the President:

      shall appoint Ambassadors, other public Ministers and Consuls,
      Judges of the supreme Court, and all other Officers of the United
      States, whose Appointments are not herein otherwise provided for,
      and which shall be established by Law: but the Congress may by
      Law vest the Appointment of such inferior Officers, as they think
      proper, in the President alone, in the Courts of Law, or in the Heads
      of Departments.

U.S. Const. art. II, § 2. This provision makes three things clear. First, the

default mode of appointment for officers is presidential nomination and

Senate     confirmation.    Second,   for   inferior   officers,     this   default


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presumption can only be overridden by statute. And third, even for

inferior officers, Congress must speak in commonsense language to

authorize an appointment process other than nomination and

confirmation. Cf. Biden v. Nebraska, 600 U.S. 477, 507–15 (2023)

(Barrett, J., concurring).

     These commonsense notions are implicit in the Appointments

Clause and constitutional structure. That Clause is both a separation-of-

powers and federalism provision. It divides appointment power between

the President and Senate—not the President and Congress as a whole—

which lacks power to confirm appointees. See Buckley v. Valeo, 424 U.S.

1, 127 (1976) (per curiam). And the Senate is the body in which States

receive equal representation, regardless of size—a mechanism that

guards against large-state Presidents underrepresenting smaller States

in the executive and judicial branches. As one Constitutional Convention

participant put it, presidential appointment power without the check of

the Senate would allow presidents “to gain over the larger States, by

gratifying them with a preference of their Citizens.” 2 The Records of the

Federal Convention of 1787, at 43 (Max Farrand ed., 1911) (statement of

Mr. Bedford reported by James Madison), https://tinyurl.com/4jpxdfun.


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These structural concerns warrant an interpretative presumption in

favor of a statement of congressional intent to authorize appointment of

an inferior officer by any means other than nomination and confirmation.

      But here, ordinary statutory interpretation demonstrates that

Congress gave the Attorney General no power to appoint Special

Counsels as inferior officers. Comparing the statues discussed in Part I.B

with the organic statutes relating to other Heads of Departments shows

as much. For example, the Agriculture Secretary “may appoint such

officers and employees … as are necessary.” 7 U.S.C. § 610(a). Similarly,

the Education Secretary “is authorized to appoint ... such officers and

employees as may be necessary.” 20 U.S.C. § 3461. Likewise, the

Secretary of Health and Human Services “is authorized to appoint …

officers   and   employees”   generally.     42   U.S.C.     § 913.   And     the

Transportation Secretary “may appoint … officers and employees.” 49

U.S.C. § 323(a).

      But the Attorney General enjoys no such general authority.

Instead, the Attorney General’s only officer-appointing power is for the

Bureau of Prisons. See 18 U.S.C. § 4041.




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     And for that reason, the general presumption applies: Anyone

whom the Attorney General wishes to establish as an officer wielding

substantial power under the United States must be subject to

Presidential appointment and Senate confirmation.

     B.    Smith’s vast, unaccountable authority requires
           presidential nomination and Senate confirmation.

     This brings us to Smith and the authority he purports to wield. If

he legitimately had the power to convene grand juries, issue subpoenas,

direct and conduct prosecutions, and litigate in this Court, he would

obviously be an “Officer of the United States” rather than a mere

employee. See Lucia, 585 U.S. at 248; Buckley, 424 U.S. at 139–40;

Calabresi & Lawson, Mueller, supra, at 128–34. More than that, he would

be a principal officer. And by the plain terms of the Appointments Clause,

principal officers must be appointed by the President with the Senate.

But that is not how Smith was appointed, and thus he could not serve as

Special Counsel even if Congress created such a position by statute.

     1. The only plausible argument to the contrary rests not on original

meaning, but on a wild overreading of the Supreme Court’s decisions in

Morrison v. Olson, 487 U.S. 654 (1988), and Edmond v. United States,

520 U.S. 651 (1997). Those decisions, especially Edmond, contain

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language that some lower courts have read to mean that anyone who had

a superior on an agency organization chart must be an “inferior” officer.

But if that were true, senior DOJ appointees—even the Deputy Attorney

General—would be inferior officers, because they all answer at some level

to the Attorney General. Could Congress therefore let the Attorney

General unilaterally appoint the Deputy Attorney General? Of course

not.

       In fact, one can be a principal rather than inferior officer in two

ways. One is to have no decisional superior other than the President.

Some of Smith’s court filings insist that he is independent from his

nominal superior (the Attorney General), and even the President: He has

assured courts that “coordination with the Biden Administration”—

which includes President Biden and Attorney General Garland—is “non-

existent.” Gov’t Mot. in Limine at 6, United States v. Trump, No. 1:23-cr-

257-TSC (D.D.C. Dec. 27, 2023), ECF No. 191. By his own admission,

then, Smith has no functional superior, necessarily rendering him a

principal officer. And this lack of accountability only compounds the

invalidity of his purported appointment. See Seila Law, 591 U.S. at 213–

18.


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     The other way to be a principal officer is to have so much power and

authority that one is superior in a substantive sense.4 As Justice Souter

perceptively wrote in his Edmond concurrence: “Because the term

‘inferior officer’ implies an official superior, one who has no superior is

not an inferior officer…. It does not follow, however, that if one is subject

to some supervision and control, one is an inferior officer. Having a

superior officer is necessary for inferior officer status, but not sufficient

to establish it.” 520 U.S. at 667 (Souter, J., concurring in part and

concurring in the judgment) (emphasis added). Deputy Secretaries,

Assistant Secretaries, and U.S. Attorneys exercise so much power that

they must be Senate-confirmed superior officers.

     Either way, if he is an officer at all, Smith is a principal officer. By

his own account he has no superior actively supervising or directing him

as required by Edmond and Free Enterprise Fund v. Public Company

Accounting Oversight Board, 561 U.S. 477 (2010). Attorney General

Garland does not supervise or direct him, as he assured the Nation he



4 This group of senior officers can be distinguished from agency heads,

perhaps labeling them “superior officers” rather than “principal officers.”
But the Supreme Court has not yet had occasion to consider that
particular distinction.
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would not when he appointed Smith as Special Counsel. See Ryan J.

Reilly, Attorney General emphasizes special counsel’s ‘independence’ in

Trump probe, NBC News (June 14, 2023), https://tinyurl.com/3r2ba5sa.

And Smith is appearing in this Court on behalf of the United States. He

is prosecuting a former President, the first time that has happened in our

Nation’s history. And, by the time this Court hears this case, that former

President may be the President-Elect.

     In short, Smith is purporting to exercise at least as much power as

a U.S. Attorney, and arguably more since he has brought cases in both

Florida and Washington, D.C. That is the hallmark of a principal officer,

who must be appointed as such.

     The absence of such an appointment means that Smith lacks

authority to prosecute Trump—or anyone else—on behalf of the United

States. And that is a powerful, sufficient reason to affirm the decision

below.




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      2. This conclusion finds additional support in insights offered

eighty years ago by Attorney General Robert Jackson, prior to serving as

a Justice. Speaking to what are now called U.S. Attorneys—Justice

Jackson reasoned:

      The prosecutor has more control over life, liberty, and reputation
      than any other person in America. His discretion is tremendous. He
      can have citizens investigated and, if he is that kind of person, he
      can have this done to the tune of public statements and veiled or
      unveiled intimations. Or the prosecutor may choose a more subtle
      course and simply have a citizen’s friends interviewed.

Robert H. Jackson, U.S. Att’y Gen., Address at the Second Annual

Conference of United States Attorneys: The Federal Prosecutor 1 (Apr. 1,

1940), https://tinyurl.com/2s4dmdsz. Outlining the various other powers

of a United States Attorney, Justice Jackson added:

      The prosecutor can order arrests, present cases to the grand jury in
      secret session, and on the basis of his one-sided presentation of the
      facts, can cause the citizen to be indicted and held for trial. He may
      dismiss the case before trial, in which case the defense never has a
      chance to be heard. Or he may go on with a public trial.

Id. And a United States Attorney’s powers don’t end there: “If he obtains

a conviction, the prosecutor can still make recommendations as to

sentence, as to whether the prisoner should get probation or a suspended

sentence, and after he is put away, as to whether he is a fit subject for

parole.” Id.
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      The Attorney General and future Justice concluded by explaining

why   anyone exercising      such enormous federal          power     requires

presidential appointment and Senate confirmation:

      Because of this immense power to strike at citizens, not with mere
      individual strength, but with all the force of government itself, the
      post of Federal District Attorney from the very beginning has been
      safeguarded by presidential appointment, requiring confirmation of
      the Senate of the United States. You are thus required to win an
      expression of confidence in your character by both the legislative
      and the executive branches of the government before assuming the
      responsibilities of a federal prosecutor.

Id. (emphasis added).

      For all the reasons that Justice Jackson articulated with respect to

U.S. Attorneys, Smith exercises the power of a principal officer, as they

do, and as such requires both nomination by the President and support

from a majority of the Senate. Smith has neither.

      Indeed, as two of the present amici have observed, “[o]ne shudders

to think what abuses might have been condoned in the McCarthy era if

Attorneys General had unlimited and unchecked power to create inferior

officer special counsels.” Calabresi & Lawson, Mueller, supra, at 94.




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III. THIS COURT IS NOT BOUND BY OBSERVATIONS IN UNITED STATES V.
     NIXON.

     Contrary to Smith’s opening brief, and for reasons explained both

by President Trump (Br. 51–59) and in Calabresi & Lawson, Mueller,

supra, the Supreme Court’s decision in United States v. Nixon does not

compel a contrary conclusion.

     First, the cited passage did not even address the question at issue

here, that is, whether the cited statutes actually authorize the Attorney

General to create special prosecutors. Nixon merely recounted, in

passing, that the Attorney General had invoked those statutes as

authority to appoint. See 418 U.S. at 694. The Court did not opine on

whether those statutes had been validly invoked—i.e., opining on the

actual scope of the statutes. The issue was not even briefed or argued.

Accordingly, Nixon’s comment doesn’t even properly count as “dictum” on

that question.

     Second, even if the Nixon statement were taken as an opinion on

the proper scope of those statutes, it is at most dictum. The case involved

only the relationship between the President and DOJ as an institution;

the same arguments would have been raised if the Attorney General

personally, or any U.S. Attorney, rather than the special prosecutor, had

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brought the suit. See Calabresi & Lawson, Mueller, supra, at 120–23. The

proper scope of the cited statutes was not relevant to that question—and

hence any discussion of those statutes, to the extent it went beyond

providing background information, could only have been dictum.

     And it is not entitled to any weight here. As one treatise has

explained, “not all dicta are created equal.” Farah v. U.S. Att’y Gen., 12

F.4th 1312, 1323 (11th Cir. 2021) (Pryor, C.J.) (quoting Bryan A. Garner

et al., The Law of Judicial Precedent § 4, at 69 (2016)) (alterations

omitted). That treatise—which this Court authoritatively cites, Laskar v.

Hurd, 972 F.3d 1278, 1291 (11th Cir. 2020)—explains that dictum should

be accorded precedential value when:

     [t]he question had been briefed by the parties, so the statement was
     informed[;] that supply more extensive analysis and is not
     incompatible with any decision before or since… [and would not
     give] litigants an outcome other than the one the Supreme Court
     would be likely to reach were the case heard there.

Garner, supra, § 4 at 61 (quoting United States v. Bloom, 149 F.3d 649,

653 (7th Cir. 1998)) (Easterbrook, J.). Such dictum is distinguishable

from obiter dictum, where a matter was not briefed or analyzed. Id. at

62. And “ill-considered dicta” do not carry much weight. Kappos v. Hyatt,

566 U.S. 431, 443 (2012).


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      Those authorities counsel against treating Nixon’s dictum—if it is

even that—as controlling. Those statutes’ proper interpretation was

never briefed or considered, Nixon contained no relevant legal analysis,

and it had nothing to do with the disposition of that case.

     Accordingly, Smith’s opening brief here “overreads Nixon’s dicta.”

Darden v. United States, 708 F.3d 1225, 1232 (11th Cir. 2013) (referring

to Florida v. Nixon, 543 U.S. 175, 187 (2004)). And, “[w]ithout further

direction from the Supreme Court,” this Court should decline Smith’s

“invitation to expand what that Court intended to be a limited” decision

on whether the Attorney General has authority to create and fill the office

of Special Counsel, then have that office prosecute a former President.

Id. Nixon cannot control here.

                             CONCLUSION

     Smith is among the most powerful officials in the Government. He

cannot wield such power without Senate confirmation, or even holding

any office created by Congress.

     The Court should affirm the judgment below.




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November 1, 2024                     Respectfully submitted,

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                 CERTIFICATE OF COMPLIANCE

     The foregoing Brief complies with the type-volume limit of Fed. R.

App. P. 29(a)(5), because, excluding the parts of the document exempted

by Fed. R. App. P. 32(f), this document contains 6,494 words.

     This brief also complies with the typeface requirements of Fed. R.

App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P.

32(a)(6) because it has been prepared in a proportionally spaced typeface

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                                     /s/ Gene C. Schaerr
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Dated: November 1, 2024




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